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                                            In The
                     United States District Court
            For the Northern District Of Illinois, Eastern Division
JOHN F. TAMBURO                             )
     Plaintiff                              )
                                            )
-against-                                   )
                                            )       Case Number: 10-CV-2748
NCO FINANCIAL SYSTEMS, INC.                 )       Judge Pallmeyer
     Defendant                              )       Magistrate Judge Schenkier


                           NOTICE OF UNOPPOSED MOTION

TO:     Mr. James Schultz, Esq.
        Sessions, Fishman, Nathan & Israel, LLC
        55 West Monroe, Ste. 1120
        Chicago, IL 60603

       PLEASE TAKE NOTICE that on July 28, 2010, at 9:00 A.M., or as soon thereafter as
this Motion may be heard, I shall appear before the Honorable Judge Rebecca R. Pallmeyer, or
any Judge sitting in his/her stead in Courtroom 2118, in the Dirksen Federal Building, 219 South
Dearborn Street, Chicago, Illinois, 60604, and then and there present PLAINTIFF’S
UNOPPOSED MOTION TO DISMISS, a copy of which is served upon you.



/s/ John F. Tamburo___________________________
John F. Tamburo, Plaintiff
PO Box 1656
Frankfort IL 60423
815-464-5010




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                                   PROOF OF SERVICE

I, JOHN F. TAMBURO, Plaintiff in this matter, do on penalty of perjury set forth in 28 USC §
1746, certify that on July 18, 2010, I electronically filed the above and foregoing NOTICE OF
MOTION and MOTION TO STRIKE ALL AMENDED AFFIRMATIVE DEFENSES
WITH MEMORANDUM OF LAW with the Clerk of the U.S. District Court, using the
CM/ECF system reflecting service of to be served on all parties of record.


/s/ John F. Tamburo___________________________
John F. Tamburo, Plaintiff




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